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Case 4:07-cv-03993-CW Document 46

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Filed 08/20/2008 Page 1 of 2

UNITED STATES DISTRICT COURT FOR

THE NORTHERN DISTRICT OF CALIFORNIA

 

MONTE RUSSELL, individually and on
behalf Of all others Similarly Situated,

Plaintiffs,
v.
WELLS FARGO AND COMPANY,

Defendant.

 

 

Case NO. C-0'7-3 993-CW
Hon. Claudia Wilken

PLAINTIFF’S NOTICE OF MOTION AND
MOTION FOR ADMINISTRATIVE RELIEF

 

 

PLAINTlFF’S MOTION FOR ADMINISTRATIVE RELIEF

 

 

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NOTICE OF MOTION AND MOTION FOR ADMINISTRATIVE RELIEF
TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

PLEASE TAKE NOTICE THAT, Plaintiff Monte Russe11 hereby moves, pursuant to
Local Rule 7.11, the Court for an order a110Wing Plaintifi’s docket number 30, part 2 filed on
July 24, 2008 be stricken from the court record and replaced With copies of redacted versions of
the same documents Defendant does not oppose Plaintift"s Motion for Adrninistrative Relief.]

Plaintiff submits that docket number 30, part 2, Which Was filed With the Court on July
24, 2008, contains information oi` a sensitive nature (z`.e., social security numbers of certain opt-
in plaintiffs), Which in an abundance of caution, Plaintiff"s counsel believes should not be part of
the court record Accordingly, and pursuant to Local Rule 7.11, Piaintiff requests that docket
number 30, part 2 be struck and replaced With the saune documents containing the appropriate

redactions, attached to this Motion as Ex. A.

This Motion is unopposed by Defendant and is based upon Plaintifi" s Notice of Motion
pursuant to Local Rule 7.11, all pleadings, papers and records on file herein, any matter of Which
the Court may take judicial notice.

Dated: August 20, 2008 Respectfully subinitted,
LARSON KING

By: /s/ T. Joseph Snodgrass
T. Joseph Snodgrass

 

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1 On August 19, 2008, Plaintiff’s counsel’s legal assistant, Patrick Nally, contacted the Court’s judicial clerl<,
Sheilah Cahill, concerning the instant motion and was advised by Ms. Cahill that Plaintiff need not submit the
stipulation otherwise required by Local Rule 7.1 i(b).

 

 

